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       Exhibit D
                                                               Case 3:19-mc-80005-SK Document 8-5 Filed 03/26/19 Page 2 of 2
                                                                                                                                                                                  Congregation Record of Processing Activities
                                                                                                                                                                                              Article 30 of GDPR
Article 30(1)(a): Name and Contact Details of Data Controller - Congregation Name:
Type of Record           Article 30(1)(f): Retention     Article 30(1)(b): Purpose for Processing This Data             Right to Process - Article 6 or 9 Article 30(1)(c): Categories of     Article 30(1)(c): Categories of Personal Data      Article 30(1)(d): To Whom           Article 30(1)(e): Is Data      If Transfer, What is the Legal       Article 30(1)(g): Technical and Organizational Security Measures
                                                                                                                        of GDPR                           Data Subjects                       Collection                                         Personal Data is Disclosed          Transferred to a Third Country Basis

Notice and Consent for                                                                                                                                                                                                                                                                                                                                   Access is restricted and viewed as confidential. Data held on hard copy form
Use of Personal Data (S- See Instructions for Use of                                                                 Article 6(1)(a), 6(1)(c), 9(2)(a),                                                                                                                                                                                                  are kept in files that are locked with access restricted to only authorized
290)                     Personal Data (S-291)            Record of publishers giving consent to process their data. and 9(2)(d)                          Publishers                          Name and surname                                   No one                              No                                None                              personnel, hard copy is filed in locked cabinet.
Congregation's                                                                                                                                                                                Name, surname, birthdate, address, telephone                                                                                                               Access is restricted and viewed as confidential. Data held on hard copy form
Publisher Record Cards See Letter to BOE dated                                                                          Article 6(1)(a), 6(1)(f), and     Publishers (non-baptized,           numbers, baptism date, gender, preaching                                                                                                                   are kept in files that are locked with access restricted to only authorized
(S-21)                   January 6, 2017                  Keeping of membership data including publisher activity       Article 9(2)(d)                   baptized)                           activity, anointed/other sheep, privileges         No one                              No                                None                              personnel, hard copy is filed in locked cabinet.
                                                                                                                                                                                              Name, gender, birthdate, baptism date, date of
Records of Confidential                                   To maintain membership status data, necessary to uphold                                                                             disfellowshipping/disassociation, congregation,                                        Some personal data may be
Cases including judicial                                  religious tenets (no rebaptism, remove from                                                                                         reason for disfellowshipping/disassociation,                                           transferred via jw.org e-mail to Legitimate interest of religious Data is blocked and access is restricted and viewed as confidential. Data
committee data (S-77 See Letter to BOE dated              congregation), protection of congregation, to fulfill   Article 6(1)(a), 6(1)(f) and            Publishers and former Witnesses     date of readmission, names of the elders, and last Elders working in the Service       the branch office using servers organization and Article          held in hard copy form are kept in files that are locked with access restricted
and items in envelope) January 6, 2017                    legitimate interests of religious organization          Article 9(2)(d)                         (former members)                    S-21                                               Department at the branch office     in the United States             49(1)(a)                         to only authorized personnel, hard copy is filed in locked cabinet
                                                                                                                                                                                                                                                                                     Some personal data may be
                                                                                                                                                                                                                                                                                     transferred via jw.org e-mail to
                                                                                                                                                                                                                                                 Circuit overseer, authorized        the branch office using servers
                                                                                                                                                                                                                                                 personnel at branch office level    in the United States, and some
                                                                                                                                                                                                                                                 and some limited data to            limited data to world            Legitimate interest of religious Access to records is restricted based on security roles and permissions. Data
Elders and Ministerial   See Letter to BOE dated          Record of appointments and removals to fulfill legitimate Article 6(1)(a), 6(1)(f), and                                             Name, surname, date of appointment or              authorized personnel at world       headquarters in the United       organization and Article         held in hard copy form are kept in files that are locked with access restricted
Servants                 January 6, 2017                  interests of the religious organization                   Article 9(2)(d)                       Publishers                          deletion                                           headquarters in the United States   States                           49(1)(a)                         to only authorized personnel
                                                                                                                                                                                                                                                                                     Some personal data may be
Report on Circuit                                                                                                                                                                                                                                                                    transferred via jw.org e-mail to Legitimate interest of religious Access to records is restricted based on security roles and permissions. Data
Overseer's Visit With    See Letter to BOE dated          To carry out the legitimate purposes of the religious                                                                               Comments on the spiritual health of                Authorized personnel at branch      the branch office using servers organization and Article          held in hard copy form are kept in files that are locked with access restricted
Congregation (S-303)     January 6, 2017                  organization                                                  Article 6(1)(f) and Article 9(2)(d) Publishers                        congregation.                                      office level                        in the United States             49(1)(a)                         to only authorized personnel
                                                                                                                                                                                                                                                                                     Personal data may be
                                                                                                                                                                                                                                                                                     transferred via jw.org e-mail
                                                                                                                                                                                                                                                                                     using servers in the United       Legitimate interest of religious
Publisher Letters of     See Letter to BOE dated          To carry out the legitimate purposes of the religious         Article 6(1)(a), 6(1)(f), and     Publishers (non-baptized,           Comments on the spiritual health of the            Elders in the publisher's new       States to the elders of the       organization and Article         Data held in hard copy form are kept in files that are locked with access
Introduction             January 6, 2017                  organization                                                  Article 9(2)(d)                   baptized)                           publisher.                                         congregation.                       publisher's new congregation      49(1)(a)                         restricted to only authorized personnel
                                                                                                                                                                                              Name, surname, health-care instructions; name,
                                                                                                                                                                                              surname, address, telephone of health-care     No one - except in cases of medical                                                                         Access is restricted and viewed as confidential. Data held on hard copy form
Advance Medical          See Letter to BOE dated                                                                                                                                              agent; and name, surname, and address of       emergency (which is the purpose                                                                             are kept in files that are locked with access restricted to only authorized
Directives               January 6, 2017                  To assist publishers in case of a medical emergency.          Article 6(1)(a)                   Publishers                          witnesses.                                     of the form)                        No                                    None                              personnel, hard copy is filed in locked cabinet.




                                                                                                                                                                                              Application date, application status, application
                                                                                                                                                                                              type, expiry date, end day, end time a.m./p.m.,                                        Some personal data may be
                                                                                                                                                                                              start day, start time a.m./p.m. (rest of                                               transferred via jw.org e-mail to
                                                                                                                                                                                              application data held in other types of records)                                       the branch office using servers
                                                                                                                                                                                              [Name, surname, birthdate, address, telephone Authorized personnel at branch           in the United States, and some
                                                                                                                                                                                              numbers, baptism date, gender, ethnicity,          office level, and some applications applications may be transferred Article 49(1)(a) - Applicants sign Access to records is restricted based on security roles and permissions. Data
                                                                                                                        Article 6(1)(a) and Article                                           government identification, marital status, skills, to world headquarters, to process to world headquarters in the       explicit consent on               held in hard copy form are kept in files that are locked with access restricted
Applications             Date received plus 3 years       To review qualifications for volunteer programs               9(2)(d)                           Publishers                          privileges, spiritual health, and physical health] the applications                    United States                    applications                      to only authorized personnel
                         Retained until assignment
                         fulfilled and schedule is        To carry out the legitimate purposes of the religious                                           Those who have joined the                                                                                                                                                                        Access is restricted and viewed as confidential. Data is placed on the
Meeting Assignments      updated                          organization, including organizing meetings                   Article 6(1)(a)                   congregation school                 Name, surname, telephone number                    No one                              No                                None                                congregation's notice board based on consent.
                                                                                                                                                                                              Name, surname, telephone numbers, e-mail,                                                                                                                    Access is restricted and viewed as confidential. Data held on hard copy form
                         As long as publisher is in the   To be able to contact publishers in the event of                                                Publishers (non-baptized,           address information, alternate contact                                                                                                                       are kept in files that are locked with access restricted to only authorized
Contact Information      congregation                     emergencies                                                   Article 6(1)(a)                   baptized)                           information.                                       No one                              No                                None                                personnel, hard copy is filed in locked cabinet.
                                                                                                                                                                                                                                                                                                                                                           Access is restricted and viewed as confidential. Data is given to publishers so
                         As long as request is made to                                                                                                                                                                                                                                                                                                     they may fulfill wishes of member of public and not contact them at their
Do Not Calls             not be contacted                 To respect the wishes of individuals                          Article 6(1)(a)                   Members of the public               Address                                            No one                              No                                None                                home.
                                                                                                                                                                                                                                                                                                                                                           Access is restricted and viewed as confidential. Data held in hard copy form
                         As long as active, and legally                                                                                                                                                                                          No one - unless contractually       No - unless contractually         None - if contractually required are kept in files that are locked with access restricted to only authorized
Vendor Files             required thereafter              To make purchases, pay bills                                  Article 6(1)(b)                   Suppliers                           Name, company contact information                  required                            required                          the legal basis is Article 49(1)(b) personnel, hard copy is filed in locked cabinet.

                                                                                                                                                          Publishers (non-baptized,                                                                                                  Video recording of meeting will
                                                                                                                        Article 6(1)(a) and Article       baptized) and visitors to limited                                                      Authorized publishers via JW        by uploaded and transferred
Recordings of Meetings One week                           For the benefit of elderly and sick publishers                9(2)(d)                           congregations                       Video images and voices                            Stream                              through stream.jw.org           Article 49(1)(a)                    Access is restricted based on permissions and passwords.
                                                                                                                                                                                              Audio/video monitoring (even if images are not                                                                                                             Access to records is restricted based on security roles and permissions,
Security Footage (CCTV) See specific law in country       To monitor public areas for security and safety               Article 6(1)(f)                   Public                              stored/kept) and recording of public               No one                              No                                None                              unnecessary data is deleted, all data is password protected.
